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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION


    UNITED STATES SECURITIES AND                         )
    EXCHANGE COMMISSION,                                 )
                                                         )
                                  Plaintiff,             )
                                                         )       No. 1:15-cv-00659-JMS-MJD
                          vs.                            )
                                                         )
    VEROS FARM LOAN HOLDING LLC,                         )
    TOBIN J. SENEFELD,                                   )
    FARMGROWCAP LLC,                                     )
    PINCAP LLC,                                          )
    PIN FINANCIAL LLC,                                   )
                                                         )
                                  Defendants.            )

                                ORDER ON MOTION TO WITHDRAW

          This matter is before the Court on a Motion to Withdraw Appearance, filed by Defendant

  Tobin Senefeld’s counsel Jeanine Kerridge. [Dkt. 324.] On January 23, 2017, the Court held an

  ex parte hearing on the Motion. Mr. Senefeld and Ms. Kerridge appeared as well as Steve

  Badger, who attended as counsel for Ms. Kerridge.

          The conduct of counsel in this court is governed by the Rules of Professional Conduct

  adopted by the Supreme Court of Indiana. S.D. Ind. L.R. 83-5(e). Rule 1.16 of the Rules of

  Professional Conduct governs termination of representation. Ms. Kerridge seeks withdrawal

  pursuant to Rules 1.16(b)(5) and 1.16(b)(6), which provide that a lawyer may withdraw from

  representing a client if:

          (5)     the client fails substantially to fulfill an obligation to the lawyer regarding
                  the lawyer’s services and has been given reasonable warning that the
                  lawyer will withdraw unless the obligation is met;

          (6)     the representation will result in an unreasonable financial burden on the
                  lawyer or has been rendered unreasonably difficult by the client.
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         The motion to withdraw was filed 617 days after Ms. Kerridge appeared and 94 days

  prior to trial. All discovery is complete and thousands of pages of documents have been

  produced. The Court has conducted multiple settlement conferences and numerous status

  conferences and other proceedings in an effort to move this matter toward resolution.

         Senefeld reported at the hearing that he had consulted with two other attorneys in an

  effort to secure new counsel. One attorney declined because he felt there was insufficient time

  before the trial date to get up to speed on the case. The other attorney represented that it would

  require the payment of fees of at least $100,000 to get up to speed in the case. Defendant

  Senefeld also reported that he believed settlement was imminent, but feels he is unable to

  complete settlement negotiations with the Securities and Exchange Commission on his own.

         When an attorney seeks to withdraw from a case, the court must consider the interests not

  only of the counsel but also the client, the other parties, and the court. See Burns v. Gen. Motors

  Corp., No. 1:06-CV-0499-DFH-WTL, 2007 WL 4438622, at *1 (S.D. Ind. Nov. 30, 2007)

  (denying a motion to withdraw six weeks before trial); see also Brown v. City of Fort Wayne,

  2011 WL 3423783 (N.D. Ind. 2011) (denying a motion to withdraw eight weeks before trial).

  Accordingly, the Court has a responsibility to weigh the effects of a potential withdrawal on both

  Defendant Senefeld and the court itself. Given the time and effort put into this case to date, the

  proximity of the trial date, and the difficulty in securing new counsel demonstrated by Defendant

  Senefeld, the Court DENIES the Motion to Withdraw. [Dkt. 324.] The case remains set for trial

  on April 10, 2017 with the final pretrial conference on March 15, 2017. [Dkt. 293.]



         Dated: 24 JAN 2017
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